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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                    CASE NO. 16-62028-CIV-LENARD/GOODMAN

    CLINGMAN & HANGER MANAGEMENT
         ASSOCIATES, LLC as Trustee

                             Plaintiff,

                     v.

    DAVID KNOBEL, JEFFREY PIERNE, NEAL
       YAWN, DEAN BARTNESS, SIANA
         STEWART, and CID YOUSEFI

                            Defendants.




       DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY
     JUDGMENT AND RESPONSE TO PLAINTIFF’S ADDITIONAL STATEMENT OF
                             MATERIAL FACTS
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 I.      Introduction
             Plaintiff turns the burden of proof on its head. Because Defendants demonstrated the

      absence of a genuine issue of material fact in their Motion (Dkt. 247), the burden shifted to

      Plaintiff to come forward with evidence demonstrating a genuine issue of material fact for trial.

      (Mot. at 16.) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 330 (1986).) In its Opposition (Dkt.

      264), Plaintiff has failed to present credible evidence that Defendants intentionally violated Title

      IV regulations, utterly lacked or consciously disregarded their financial aid systems, or acted so

      recklessly or outside the bounds of reason to overcome the protections afforded by the business

      judgment rule (the “BJR”).

             In the face of clean audits and no governmental findings against any Defendant, Plaintiff

      offers only its own spin about Defendants’ emails to make claims that are not supported by the

      law. Nor does Plaintiff show it can proceed to trial under a Caremark claim. Even if such a claim

      were to apply to officers, the uncontroverted evidence shows Defendants not only had financial

      systems in place, but also monitored these systems and made efforts to address issues identified

      by those systems. Plaintiff does not take issue with the failure of the Regent 8 program, but it

      nevertheless seeks to hold FCC’s former employees accountable for the consequences as if the

      employees somehow had a legal duty to guarantee the success of third-party software.

             Finally, Plaintiff cannot point to any evidence showing Defendants acted so recklessly or

      irrationally that the BJR would not apply. Plaintiff makes the classic mistake of confusing results

      with process, i.e., assuming that because FCC went bankrupt, then someone must be personally

      responsible. On this record, there is no dispute that Defendants acted prudently under trying

      circumstances, a far cry from acting in a grossly negligent manner. Because Plaintiff has failed to

      show there are genuine disputes about any material facts, summary judgment is appropriate.
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 II.      Response to Plaintiff’s Additional Statements of Material Fact
              68.     This statement is not an “[a]dditional [f]act[] [c]oncerning the Title IV

       [r]egulations” (Dkt. 263 at 15). It does not set forth any fact; instead, it is an attempt to restate

       the law with expert testimony. See 34 C.F.R. § 668.166. There is no record basis for the

       statement that “the general [sic] accepted practice is to not hold any excess cash” except the ipse

       dixit of proposed expert James Murphy, who should be excluded on Daubert grounds. Further,

       the practice at other schools is immaterial here because Plaintiff’s theory of liability is grounded

       upon violations of DoE regulations.

              69.     Again, this statement is an attempt to restate the law. See 34 C.F.R. §§ 668.21,

       .22, .171, and .173. Defendants refer to their response in ¶14 in their Statement of Facts

       explaining how funds drawn down for one student can be disbursed to another eligible student.

              70.     This also is not a statement of fact but an attempt to restate the law with expert

       opinion. See 34 C.F.R. §§ 668.14, .161, and .164. Plaintiff does not state that Defendants lacked

       an internal system of checks and balances and offers no evidence in support of such a statement.

       A school no longer holds Title IV funds “in trust” once the funds are disbursed to a student by

       direct payment or crediting the student’s ledger account. See 34 C.F.R. § 668.164(a)(1). Plaintiff

       cites only to two expert reports, both of which Defendants have moved to exclude.

              72.     The citations to Plaintiff’s statement do not show the draws prior to July 1, 2013

       to support Plaintiff’s broad claim that FCC always previously drew “specific dollars and cents.”

       Nor do the citations support the statement about a “pattern” or “massive refunds.” Davis testified

       that the regulations do not prohibit a school from drawing less money than it was entitled to draw

       by rounding down the draw amounts for administrative ease. (Davis Tr. 270:6–15, Dkt. 236-1 at

       270.) Stewart provided uncontroverted testimony that she would draw a percentage of available

       funds rather than the entire amount, resulting in a round number. (Stewart Tr. 161:10–13; Dkt.


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   219-1 at 41.) Further, Davis did not “warn” FCC about the issue of substantiation but instead

   asked for an update and expressed willingness to discuss the issue. (Dkt. 228-2 at 2.)

          73.     Plaintiff’s statement cites to the Donohue expert report, but his report cannot

   support the statement. Donohue provided no opinion about substantiation, disbursements, or any

   other aspect of the Title IV legal or regulatory process. (Donohue Tr. 84:13–24, 90:7–91:9,

   206:6–207:9, 220:11–221:8, Dkt. 251-1 at 22, 24, 53, 56.) His report is based on data that does

   not support Plaintiff’s conclusions about substantiation or disbursements into STARS. In fact,

   the STARS data is erroneous, missing information, was manipulated after the fact, does not list

   all eligible students (including “no show or cancelled” students), and does not account for

   rejected student records over time. (Stewart Decl. ¶¶24–26, Dkt. 246-1.) The “no show or

   cancelled” students alone historically accounted for up to 10% of the draws at FCC. (Id. ¶27.)

          75.     Defendants refer to their response in ¶72 above with respect to the drawing of

   round numbers and refer to their response to ¶73 above with respect to the lack of support for the

   statement that FCC drew more funds than it had in STARS or reported to COD.

          76.     Plaintiff’s statement is incomplete, as it omits that Stewart based all draw

   amounts on students in immediate need. (Dkt. 259 at 12.) Stewart specifically testified that “pre-

   draws” (like any other draw) were based on students eligible for disbursement within the

   regulatory time period. (Stewart Tr. 252:21–253:3, 265:20–266:5, Dkt. 219-1 at 64, 67-68.) All

   witnesses, including Turgot, support Stewart’s testimony on this point. (Turgot Tr. 195:15–25,

   Dkt. 231-1 at 50; see also Dkt. 247 ¶30.) Stewart spent several days preparing a “pre-draw” by

   processing student large rosters. (Stewart Tr. 267:1–19, Dkt 219-1 at 68.)

          77.     Plaintiff’s statement fails to explain that refunds can be made up to thirty days

   after the school becomes aware of the student’s withdrawal. See 34 C.F.R. §668.21(b). Further,




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   Turgot did not report that “nothing was available to draw for Phoenix and Bryman 2014 Direct

   Loans,” but instead reported that no funds were available “today.” Turgot’s statement would not

   include pre-draws based on student starts in the future. See 34 C.F.R. §668.164(i) (discussing

   “early disbursements,” which could occur up to 10 days before the start of class).

          78.     Defendants refer to their response in ¶¶76–77 above for a description of how

   Stewart based “pre-draws” on rosters and the “early disbursement” provision under Title IV

   regulations. Plaintiff’s citations do not support its statement that FCC held funds “for 30 days

   without disbursing to students and refunds that were posted in STARS not but paid to the COD.”

   Turgot did not make such a statement, Stewart did not “confirm” it, and the statement is

   nonsensical because funds are not “paid” to COD. Rather, student records are reported to COD.

   (Weems Report ¶¶20–22, Dkt. 233-2.) Turgot simply stated refunds were coming due after 30

   days, which is the time period to make refunds under Title IV regulations (accruing from the date

   the school realizes the student has not shown up for class). See 34 C.F.R. §668.21(b).

          79.     Defendants refer to the response to ¶¶76–79 above regarding the basis for draws.

          80.     Plaintiff’s citation does not show Pierne “direct[ing]” Stewart to “pull down” any

   funds, but instead requesting a forecast. Pierne does not discuss a purpose of “show[ing]

   additional cash in hand on the balance sheet.” See Dkt. 219-2 at 113. Stewart responded that she

   would provide a forecast based upon an “approval list” of eligible students. (Id.)

          81.     Plaintiff provides no citations for its first sentence. The statement does not

   indicate when the “$4 million” was due for a refund or return to Title IV to the DoE. Plaintiff’s

   citations do not support the statement that Stewart proposed “removing the largest refunds to be

   made that day” or proposed a draw instead of returning “$4 million to the DOE.” There is no

   indication that the lawful pre-draws were unsupported by student rosters or prohibited by the




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   “early disbursement” provision of the regulations, see response to ¶¶76–79 above, or that the

   refunds were beyond the 30-day requirement. See 34 C.F.R. §668.21(b).

          82.     Pierne did not ask Knobel for “permission” for the draw; Financial Services

   (under Yousefi) had already posted over $9 million worth of student records at COD to prove the

   immediate need for the early disbursements. (Dkt. 221-2 at 220.) Knobel did not “agree[]

   without asking for explanation . . . .” Rather, Pierne informed him the funds were already posted,

   precluding the need for Knobel to ask for further details. Id.

          83.     Yousefi stated he did not “fully understand” exactly how Stewart had calculated

   the draws during her tenure, but as seen in the response to ¶82 above, Yousefi knew that

   Financial Services had already posted over $9 million worth of student records to draw against.

          84.     The employee who performed the draws was different from the employee who

   reported she would “run another pay list on Monday.” Lisa Edwards reported the balances, while

   Kim Verga stated she would run another pay list on Monday. (Dkt. 234-2 at 92, 94.) Per ¶82

   above, Yousefi was already aware that sufficient student records were available to draw against.

          85.     The statement fails to identify the schools, dates, or dollar amounts of any

   purported pre-draws; it is unclear when the statement claims the pre-draws began or ended, or

   what dates constitute “Winter 2014.” Also, Yousefi was only responsible for Financial Services

   only from December 10, 2013 until January 13, 2014. (Dkt. 247 ¶8.) There is no evidence that

   Kim Verga ever reported Cid Yousefi to human resources for any issue. The cited letter was

   reporting issues about John Murphy, and only referencing Cid Yousefi as context. (Dkt. 234-2 at

   36–37.) The discussion about pre-draws related to the reconciliation project involved consultant

   Spring Zutes, who is not in human resources. (Id.)




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          86.     Stewart did not work at FCC through the entire month of December (Dkt. 247

   ¶7), and Knobel and Pierne did not directly manage the Financial Services Office, but merely

   oversaw it (id. ¶¶ 3–4.) Defendants refer to the response to ¶76 in that all draws, including “pre-

   draws,” were based upon student rosters. Defendants also refer to the response to ¶73 to show

   that Plaintiff cannot rely upon the report of Donohue to establish this statement.

          87.     Murphy testified that his information was passed along to Pierne and others in the

   “leadership” through Yousefi. (Murphy Tr. 74:9–17, Dkt. 228-1 at 20.)

          88.     The statement refers to Davis’ request for refund confirmations or records for

   balances over 30 days due, but then confusingly refers to the over $15 million in total

   “unsubstantiated” cash, which includes funds less than 30 days old. At that time, a school had 15

   days from the time of disbursement to report to COD. (Davis Tr. 98:21–99:2, Dkt 236-1 at 26.)

          89.     Murphy testified that all draws at FCC were based on expected student starts and

   refunds would be made if students did not actually attend or complete classes. (Murphy Tr.

   240:1–241:20, 247:4–248:1, 248:9–249:21, Dkt. 228-1 at 61, 63.) Spirea likewise testified that

   FCC never “drew any funds without student rosters.” (Spirea Tr. 149:22–25, Dkt. 230-1 at 38.)

          90.     The cited materials do not support the statement that the imbalances grew “so

   large” because FCC was borrowing money to repay refunds. The transcript excerpt concerns

   another point, and the documents only describe the difficulties in processing refunds, which

   Yousefi explained was due to the Regent 8 reject problem. (Yousefi Tr. 208:19–25, Dkt. 220-1 at

   53.) Further, there is no regulation prohibiting the use of funds (after disbursement to students)

   for operating expenses, including refunds. (Id. 115:15–116:9, Dkt. 220-1 at 30.)




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III.       Argument

                  A. Plaintiff abandoned several claims.
              Plaintiff has fully abandoned its claim that Defendants breached their duties of loyalty by

       engaging in financially self-interested activities at FCC because they allegedly had stock

       interests in FCC. (Opp’n at 21 n.6; Am. Compl. ¶141, Dkt. 85 at 40.)

              Plaintiff also has abandoned important aspects of its duty of loyalty claims. As to its

       Caremark claim against Yawn, Plaintiff makes a single passing, and misleading, reference to

       Yawn. (Opp’n at 20.) Pierne did not testify that Yawn was responsible for monitoring any of the

       financial aid activities at issue in this case. Pierne simply stated that Yawn was responsible for

       campus-level activities, as distinct from the corporate-level activities forming the basis of

       Plaintiff’s case. Rather than dispute Defendants’ description of Yawn’s responsibilities in their

       Statement of Facts, Plaintiff admits Yawn did not have responsibility for financial aid

       compliance. (Dkt. 247 ¶6.) Likewise, Plaintiff fails to mention Bartness at all, abandoning any

       claims for his knowing violations of the law. Opp’n 13–16.

              Finally, Plaintiff abandoned its claims that any Defendant violated their duty of loyalty

       by failing to hold funds “in trust” for students or by engaging in a “kiting” scheme by drawing

       funds from one OPEID to refund at another. By failing to argue these points in response, Plaintiff

       has waived these claims. 1

                  B. Bartness was not responsible for financial aid compliance.
              Plaintiff misrepresents the record regarding the scope of Bartness’ duties as Chief

       Compliance Officer. No witness testified that Bartness was responsible for overseeing


       1
         See, e.g., Lannen v. Broward Cty. Sheriff's Office, 2011 WL 13214322, at *3 (S.D. Fla. Aug.
       29, 2011) (granting dispositive relief where non-movant failed to address argument in motion
       (citing Local Rule 7.1(c))).



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   compliance of the corporate-level financial aid practices at issue. Plaintiff’s citations to Pierne

   and Knobel (Dkt. 263 ¶35) are misleading. Pierne testified that Bartness did not have oversight

   responsibility for financial aid. (Pierne Tr. 22:4–5, Dkt. 238-1 at 7.) Knobel testified only that

   Sandy May (who reported to Bartness) would audit financial aid at the campus-level. (Knobel Tr.

   343:14–20, Dkt. 221-1 at 86.) Again, no campus-level financial aid activities are at issue.2

              C. There is no evidence that any regulatory violations occurred.
          Plaintiff addressed only three purported regulatory issues in its summary judgement

   response: “pre-drawing,” “reconciliation,” and “refunding.” But Plaintiff has cited to no

   summary judgement evidence that any one or more of the Defendants violated any of these

   regulation. Plaintiff’s sworn interrogatory answers highlight the uncontroverted fact that

   Defendants did not improperly draw down funds, rely upon any “inflated” projections, fail to

   timely refund or return monies, underreport a student withdrawal, or fail to make a refund

   despite acknowledging it must to do so. (Dkt. 247 ¶33.) With these admissions secured, Plaintiff

   has conceded its case. See Am. Compl., Dkt. 85 at 11–12 n.15.

          In an effort to wiggle out from under the truth, Plaintiff now claims that its admissions

   were misconstrued. (Dkt. 263 ¶33.) But a party cannot contradict its prior admissions to avoid

   summary judgement. See, e.g., Forte v. Otis Elevator Co., 2015 WL 12860841, at *2–4 (S.D.

   Fla. Feb. 18, 2015) (striking affidavit where it contradicted interrogatory responses). 3


   2
     Nor is Bartness’ previous testimony in the unrelated action cited by Plaintiff to the contrary.
   Bartness testified that he was responsible for regulatory accreditation and licensure issues—not
   regulatory financial aid issues. (Bartness Tr. 35:6–7, 101:2–3, Dkt. 262-1 at 10, 26.) Finally,
   Plaintiff’s reference to program eligibility is a red herring. There is no claim that the DOE took
   any action against FCC based on this issue or that this issue otherwise caused FCC any damages.
   3
    Here, Plaintiff does not even have a “sham” affidavit to rely upon in contradicting its prior
   sworn interrogatory answers, as in Forte and similar cases. Instead, Plaintiff relies only upon
   unsupported argument of counsel in its attempt to avoid its binding answers.



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          To be sure, FCC’s financial aid auditor (Deemer Dana) gave it a clean bill of health in the

   2012–13 year. (Dkt. 247 ¶¶36–41.) Deemer Dana found FCC complied with all Title IV

   requirements, the very regulations at issue in this case. (Dkt. 247 ¶¶ 37–38.) Plaintiff says it

   “disputes” the audit findings but offers no summary judgement evidence. Without more,

   Plaintiff’s naked claim that Defendants’ citations to the audits (called “attestations”) “do not

   support the statements” is legally insufficient to defeat an otherwise meritorious summary

   judgement motion.

          Plaintiff kicks up dust by claiming that Deemer Dana did not attempt to perform the

   close-out audit in 2014. The claim is objectively false. The evidence is uncontroverted that

   Deemer Dana sent several engagement letters to FCC and IEC for that very purpose, but neither

   entity engaged. (Dkt. 247 ¶¶39 and 40, Dkt. 263 ¶40.) The close-out audit never occurred

   because neither FCC nor anyone else (including Plaintiff) wanted to pay for it. (Clingman Tr.

   145:23–146:1, Dkt. 237-1 at 37-38.) Finally, it is uncontroverted that no governmental agency,

   including the DoE, took any action (administrative, civil, or otherwise) against FCC, let alone

   against any Defendants. (Dkt. 247 ¶65.)

              D. There is no evidence that Defendants intentionally violated any regulations.
          Even if Plaintiff could show that regulatory violations occurred, Plaintiff must proffer

   evidence that any given Defendant (except Yawn, against whom no such claim is even pled)

   intentionally violated the regulations. Trying to avoid summary judgment, Plaintiff makes the

   sweeping claim that issues of state of mind are not proper for disposition at summary judgment.

          Plaintiff cites three cases where the courts held that plaintiffs were not entitled to

   summary judgment because of the issue of state of mind. Opp’n at 13.4 Defendants agree that, if


   4
    See also United States v. $688,670.42 Seized from Regions Bank Account No. XXXXXX5028,
   449 F. App’x 871, 877 (11th Cir. 2011) (denying plaintiff-Government summary judgment); see


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   Plaintiff moved for summary judgment on this issue, it should have been denied. But that is an

   entirely different question than whether Defendants are entitled to summary judgment.

          In the fourth case cited by Plaintiff, Williams v. Obstfeld, 314 F.3d 1270, 1277 (11th Cir.

   2002), the Court granted summary judgment in favor of the defendants on the issue of intent. The

   Court observed that “[t]here are many instances in the law where the evidence of state of mind is

   so unequivocal that summary judgment is proper and, indeed, expressly mandated by Rule 56.”

   Id. (citations omitted). Importantly, although the Court acknowledged the law had been broken

   because of another party’s criminal conduct, it found that the plaintiff had “presented no

   evidence the [defendants at issue] knew the mortgage funds had been stolen from [the insurance

   company].” Id.5 Thus, even if Plaintiff could show regulatory violations (which it cannot), there

   is a gulf between such a showing and a showing that such violations were intentional.

          Delaware case law likewise emphasizes that fiduciaries do not breach their duties simply

   because there were errors at the company. In In re Allergan, Inc. Stockholder Litig., 2014 WL


   also Chanel, Inc. v. Italian Activewear of Fla., Inc., 931 F.2d 1472, 1477 (11th Cir. 1991)
   (noting that summary judgment was particularly inappropriate in the case because the “moving
   party is also the party with the burden of proof on the issue”); Setai Hotel Acquisition, LLC v.
   Miami Beach Luxury Rentals, Inc., 2017 WL 3503371, at *13 (S.D. Fla. Aug. 15, 2017) (“[E]ven
   if the facts in the record could support an inference of knowledge or willful blindness . . . they do
   not so clearly compel that conclusion as to warrant finding intent as a matter of law.”).
   5
     See also Smith v. First Nat’l Bank of Atlanta, 837 F.2d 1575, 1580 (11th Cir. 1988) (affirming
   award of summary judgment to defendant on issue of bad faith, noting that “summary judgment
   is . . . proper if the party opposing summary judgment fails to indicate that he can produce the
   requisite quantum of evidence to enable him to reach the jury with his claim”) (internal quotation
   marks omitted) (quoting Hahn v. Sargent, 523 F.2d 461, 468 (1st Cir. 1975)). See also, e.g.,
   Hahn, 523 F.2d at 468 (“[A] party against whom summary judgment is sought is [not] entitled to
   a trial simply because he has asserted a cause of action to which state of mind is a material
   element.”); Roper v. Exxon Corp., 198 F.3d 242 (5th Cir. 1999) (“A party cannot raise a fact
   issue simply by stating the defendant’s state of mind is at issue.”); Miles v. Jones, 2010 WL
   5574324, at *7 (S.D. Fla. Nov. 22, 2010) (“Even when the defendant's state of mind is at issue,
   the plaintiff must give some indication that he can produce the requisite quantum of evidence to
   enable him to reach the jury with his claim.”) (internal quotation marks and citation omitted).



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   5791350, at *9 (Del. Ch. Nov. 7, 2014), the plaintiff brought a claim for breach of the duty to

   make accurate disclosures, a claim based on the duties of both loyalty and care. The plaintiff

   argued that judgment could be entered against fiduciaries as long as the fiduciaries had made an

   inaccurate disclosure, “as if the standard was one of strict liability.” Id. But the Chancery Court

   rejected this argument because “[t]he [Delaware] Supreme Court . . . [has] explained that

   directors who knowingly disseminate false information . . . may be held accountable . . . .” Id.

          The same is true here. Fiduciaries are not strictly liable for regulatory violations at the

   company. Plaintiff must show evidence of intentional violations to survive summary judgment.

   Here, the proof of intent is wholly lacking in Plaintiff’s case. Plaintiff asks this Court to draw an

   inference that regulatory violations occurred and then asks the Court to draw the further

   inference that such violations must have been intentional. This is a classic “where there is smoke,

   there must be a fire” argument. But, of course, this Court may not “draw inference upon

   inference to create a jury issue for the plaintiff.” Miles, 2010 WL 5574324, at *7.

              E. No Delaware state court has held that Caremark claims apply to officers.
          Plaintiff fails to cite any case from a Delaware state court addressing the issue of whether

   a Caremark claim applies to officers. Opp’n at 16–17. Plaintiff cites only Gantler v. Stephens,

   965 A.2d 695 (Del. 2009). But Gantler simply held that officers and directors owe duties of

   loyalty and care, not whether Caremark claims apply to officers.

          Defendants do not dispute that officers are subject to the duty of loyalty, but do dispute

   that officers are somehow subject to claims based on directors’ failure to monitor. This remains

   an open issue under Delaware law, and in the absence of a pronouncement from the Delaware

   Supreme Court, this Court must look to Delaware’s lower courts for guidance.

          In the only lower court decision cited by Plaintiff, In re Massey Energy Co., 2011 WL

   2176479 (Del. Ch. May 31, 2011), the defendant did not raise this issue. As Plaintiff admits, the


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   CEO in that case was also a director. Opp’n at 17 n.3. In fact, the majority of the defendants in

   Massey were directors, including officers who simultaneously sat on the board. In re Massey,

   2011 WL 2028545 (Del. Ch. May 24, 2011) (paragraphs 21 through 34 of the complaint). Unlike

   Massey, Plaintiff has disavowed making any claim against Knobel (or Pierne) because they were

   directors. Rather, Plaintiff confirmed it is making claims against all Defendants (including

   Knobel and Pierne) solely in their capacities as officers. (Dkt. 102 at 19–20.)

          In the absence of any Delaware case finding Caremark claims apply against officers,

   Plaintiff is asking the Court to take a step no Delaware state court has taken. This Court should

   apply Caremark as it has been applied since its inception: as a claim for liability against the

   board of directors for their failure to exercise oversight over officers and other employees.

              F. There is no evidence there was an “utter lack” of systems in place or
                 Defendants “consciously disregarded” those systems.
          Plaintiff misrepresents the requirements of Caremark, which only requires that

   Defendants have systems in place and that they monitor them. See Mot. at 34. Only actual

   evidence supporting the “utter” failure to have systems in place, or the “conscious disregard” of

   such systems, would allow this claim to survive. Id. at 32. Whether Defendants had

   “weaknesses” in the process does not mean that there was an “utter” lack of systems in place,

   just as a Defendant’s hindsight statement that FCC did not do “enough” to address any issues

   does not mean that Defendants consciously disregarded the systems. Opp’n at 19.

          It is undisputed that Defendants had multiple financial aid systems in place. (Dkt. 247

   ¶¶17–24, 43–45) (describing FCC’s financial aid systems and processes in depth); (Dkt. 264)

   (describing the accounting system, “Great Plains”). It is likewise uncontroverted that FCC had an

   accounting system in place. (Dkt. 247 ¶18.) Plaintiff claims that “none of [FCC’s systems]




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   accurately interfaced with each other, and Defendants knew that.” Opp’n at 18. But this

   argument is flawed for two reasons.

          First, the fact that the systems exist defeats the argument that FCC “utterly lacked”

   systems. Second, the system that failed was the Regent 8 software, not FCC’s student-tracking

   system called STARS or the Great Plains accounting system. It is uncontroverted that Regent 8

   was quickly taken off-line after FCC realized the problems it had caused and never re-deployed.

   (Dkt. 247 ¶47.) The facts alleged in the Amended Complaint do not criticize Defendants for

   taking Regent 8 off-line proactively. Instead, the case is based on the data corruption caused by

   Regent 8 that lingered through the following academic year despite the best efforts of Defendants

   to correct the corrupted files. In short, there is no evidence of missing or unsupervised systems.

          Plaintiff’s allusion to the testimony of Barbara Davis of the DoE is irrelevant Neither she

   nor the DoE ever made a finding that FCC did not have adequate systems in place. She was

   merely stating that the DoE bears responsibility to ensure that schools account for federal funds,

   and that schools have discretion in how they do so. Opp’n at 19.

          Plaintiff’s citation to the April 24, 2014 board presentation is likewise insufficient to

   create a genuine dispute. The “[l]ack of trust in forecasts that originate from campus

   management” has nothing to do with this case. Plaintiff again conflates campus-level activity

   with the corporate-level activity at issue . Opp’n at 19. Plaintiff then claims this issue “resulted in

   financial action against FCC.” That statement, besides having no basis in the record, is false.

          Nor is there a genuine dispute that Defendants diligently monitored the systems.

   Stewart’s job was to monitor compliance with Title IV regulations daily and she did so. It is

   undisputed that Stewart met regularly with her team, that Pierne met regularly with Stewart to

   oversee her, and that Pierne and the rest of the officers and management team (including all




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   Defendants) met regularly to remain apprised of any developments. (Dkt. 247 ¶¶23–24.) Further,

   Pierne and Stewart reacted decisively when Regent 8 caused problems. (Id. ¶¶52–53.)

          Further, the entire reconciliation process was FCC’s means (or in the language of

   Caremark, the “system”) by which FCC monitored its compliance with Title IV regulations.

   (Dkt. 246-1 at 6). Contrary to Plaintiff’s misrepresentation, Defendants have identified

   documents evincing this reconciliation process. (Dkt. 279 at 2; Dkt. 279-2, 279-3, and 279-4). As

   noted above, FCC’s Title IV auditor, Deemer Dana, would have flagged any material

   reconciliation issues if it had found any.

          Finally, contrary to Plaintiff’s bald assertions, neither Bartness nor Yawn had any

   responsibility for monitoring compliance with the activities at issue, and Plaintiff’s citations are

   substantively false. Pierne does not even mention Bartness in the cited excerpt and Pierne only

   referenced Yawn’s responsibilities at the campus level, which is irrelevant. Opp’n at 20.

              G. Plaintiff has not offered evidence that Defendants were recklessly indifferent
                 or acting without the bounds of reason.
          Plaintiff bears the burden of proof to overcome the BJR to establish a claim for breach of

   care. But it failed to present any evidence showing gross negligence so as to overcome the BJR.

          Plaintiff attempted to water down the meaning of gross negligence, but Delaware case

   law consistently holds that this standard means “reckless indifference or actions that are without

   the bounds of reasons.” Mot. at 21. No evidence rises to this level for any Defendant, and

   Plaintiff devotes little more than one page to this argument. Opp’n at 22–23. Indeed, there is

   little in the record for Plaintiff to discuss. Plaintiff only mentions two Defendants (Knobel and

   Pierne), essentially abandoning any attempt to show the other Defendants were grossly negligent.

          “Although the Court is required to draw all reasonable inferences in favor of the party

   opposing summary judgment, those inferences must be based on facts in the record.” Miles, 2010



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   WL 5574324, at *7. “The Court is not required, or even permitted, to deny a summary judgment

   motion based on unreasonable inferences that amount to nothing more than speculation or

   conjecture.” Id. Plaintiff cites to emails involving Knobel and Pierne (Dkt. 263 ¶¶80, 82–86) that

   discuss drawing down funds from G5, sometimes in advance of the student start dates. The

   regulations permit this practice as long as the school’s students have an immediate need for such

   funds. (Dkt. 274 ¶12, Dkt. 263 ¶12, ¶77.) Plaintiff offers no evidence that FCC did not have a

   student roster to support ever draw or that funds drawn were not posted to student accounts.

           To the contrary: Plaintiff admitted as much in its interrogatory answers. Plaintiff is

   speculating that, because the CEO and CFO did not directly reference in emails an operational

   detail (i.e., student rosters), that the rosters did not exist. See, e.g., Johnson v. Univ. of Ala.

   Health Servs. Found., PC, 2016 WL 705962, at *6 (N.D. Ala. Feb. 23, 2016) (rejecting

   plaintiff’s speculative inference from emails as “mere conjecture, unsupported by any evidence

   or reasonable inference” (quoting Cordoba v. Dillard’s, Inc., 419 F.3d 1169, 1181 (11th Cir.

   2005))).

           Moreover, it should not escape notice that Plaintiff now admits FCC had student rosters.

   (Dkt. 266 at 12). Thus, Plaintiff’s speculative interpretation of these emails flies in the face of its

   own record and cannot resist summary judgment.

           Plaintiff also cites the DoE’s decision to put FCC on cash freeze. But the DoE’s action

   was not punitive and certainly was not a finding that Defendants were reckless in any way. As

   noted above, the DoE took no action against FCC, let alone against any of the Defendants.

           Plaintiff continues to confuse outcome with process. See Stone ex rel. AmSouth

   Bancorporation v. Ritter, 911 A.2d 362, 373 (Del. 2006) (“With the benefit of hindsight, the

   plaintiffs’ complaint seeks to equate a bad outcome with bad faith.”). That same principle applies




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   to Knobel’s statement about improving performance in the future: Plaintiff cannot state a cause

   of action simply because the result of Defendants’ actions did not turn out as planned.

          Rather than being recklessly indifferent, Defendants did all they could under trying

   circumstances. Despite testing it as much as they could, the Regent 8 problem was massive in

   scale and rejects continued even after it was taken off-line. (Dkt. 247 ¶¶45, 47; see also Dkt. 264

   at 8) (“Regent 8 interfaced poorly with STARS and FCC had trouble submitting disbursement

   records to COD which COD would accept.”). Pierne authorized Stewart to hire as much staff as

   necessary—which she did—and Knobel remained apprised of the situation. (Dkt. 247 ¶52.)

          Plaintiff’s attempt to “dispute” the massive scale of the Regent data corruption borders on

   misrepresentation: it claims that “Defendants’ citations do not support the statement that Regent

   corrupted data fields in the COD system or that such issues reappeared in November 2013.”

   (Dkt. 263 ¶57.) Such a claim requires willful blindness. Dkt. 247 ¶57 (“Based on feedback from

   the team, when they would clear the rejects, they would share, oh, this reject happened because

   of an anomaly found that took place back in February 2013. And so we would know, based on

   the feedback, that these things were still stemming from occurrences from the Regent file.”)

   (citing Stewart Tr. 309:10–16, Dkt. 219-1 at 78) (emphasis added). Nor does Plaintiff dispute the

   DoE’s statement that “FCC has a really good reconciliation history” but was simply going

   through a “rough patch” due to Regent 8. (Dkt. 247 ¶50.)

          Plaintiff’s attempt to create a dispute as to whether Regent corrupted data is an illusion.

   Plaintiff claims that Regent 8 never corrupted the records in COD because certain witnesses were

   not aware of the corruption. (Dkt. 263 ¶46.) But Turgot testified FCC “had some problem with

   the process when Regent was doing it that we had to do reconciliation,” and simply did not recall

   whether the problem continued afterwards. (Turgot Tr. 182:9–22, Dkt. 231-1 at 47.) And Spirea,




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   who joined FCC only in 2014, testified that she did not know exactly how data at COD could be

   corrupted. (Spirea Tr. 58:16–25, Dkt. 230-1 at 16.) None of this actually controverts Defendants’

   evidence that Regent 8 corrupted the data at COD. Even Plaintiff elsewhere does not dispute the

   efforts take to address the “corrupted data.” (Dkt. 247 ¶52).

          Plaintiff likewise cannot create a genuine dispute as to whether the Regent 8 corruption in

   the spring of 2013 continued causing rejects in the 2013–14 academic year. In the face of

   Defendants’ evidence that the corruption did cause problems in the 2013–14 year (Dkt. 247 ¶57),

   Plaintiff resorts to claiming that this is impossible. (Dkt. 263 ¶57). But Plaintiff’s support for this

   claim is (1) a citation to John Murphy that does not even discuss this issue and (2) a citation to

   putative expert James Murphy, who testified that he did not bother to determine how Regent 8

   had affected the data in this case. (Murphy Tr. 125:17–126:12, Dkt. 252-1 at 32–33.)

          Plaintiff has failed to show what more Defendants could have done, and more

   importantly, failed to show that Defendants were acting recklessly or outside the bounds of

   reason. Even under Delaware’s enhanced levels of scrutiny, management’s “decisions must be

   reasonable, not perfect.” Lyondell Chem. Co. v. Ryan, 970 A.2d 235, 243 (Del. 2009). Under the

   more lenient BJR, Defendants cannot be held personally liable because Plaintiff, with hindsight

   following a bankruptcy, believes they fell short of perfection.

          Finally, Plaintiff misdirects the Court by suggesting it “will submit expert testimony

   concerning what information a careful and prudent officer of a financial aid-dependent

   organization would have looked to before making drawdown decisions.” Opp’n at 22. As

   discussed in Defendant’s Daubert motion against James Murphy (Dkt. 244), Murphy did not

   opine about “industry” standards; he provided improper legal opinions. And as discussed in the

   reply memorandum, “industry” standards are, in any event, irrelevant in this case. (Dkt. 277).




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   Relatedly, the standard of what a “careful and prudent officer” would do is not the standard for

   gross negligence, but instead the standard for garden-variety negligence. 6

              H. The Motion should be granted regardless of whether sanctions are awarded.
          Having pursued a case in which critical evidence favorable to Defendants was spoliated,

   Plaintiff now seeks to compound the prejudice by arguing that the spoliation precludes entry of

   summary judgment against it. In their motion for sanctions (Dkt. 246), Defendants requested

   appropriate relief for the failure to preserve important documents. These missing documents

   would have enabled Defendant to definitively disprove Plaintiff’s case on a draw-by-draw and

   even student-by-student basis. But Defendants do not have to affirmatively disprove Plaintiff’s

   case to prevail at summary judgment.

          Defendants need only show that Plaintiff—bearing the burden of proof—cannot prove its

   case. See United States v. Four Parcels of Real Prop. in Greene & Tuscaloosa Cntys. in State of

   Ala., 941 F.2d 1428, 1437–38 (11th Cir. 1991) (“When the nonmoving party has the burden of

   proof at trial, the moving party . . . . simply may show—that is, point out to the district court—

   that there is an absence of evidence to support the nonmoving party’s case.”) (internal

   punctuation marks omitted).7 Through the Motion and this Reply, Defendants have demonstrated

   that there is no genuine issue of material fact as to multiple elements of Plaintiff’s claims and

   that they are entitled to judgment as a matter of law. Defendants do not need to rely upon the


   6
     Plaintiff’s citation to Pleasant Valley Biofuels, LLC v. Sanchez-Medina, 2014 WL 11881019
   (S.D. Fla. Nov. 21, 2014) is inapposite. Pleasant Valley did not involve Delaware law, did not
   involve claims based on regulatory violations, and does not set the standard for duty of care as to
   what “a careful and prudent officer” would do. That phrase does not even appear in the case.
   7
     “Alternatively, the moving party may support its motion for summary judgment with
   affirmative evidence demonstrating that the nonmoving party will be unable to prove its case at
   trial.” Id. at 1438. If the missing evidence had not been spoliated, Defendants would have relied
   on that evidence under this alternate route to summary judgment.



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   missing evidence to make this showing. They do so by pointing to existing evidence or, even

   more simply, to the absence of evidence showing fatal gaps in Plaintiff’s case. Thus, the

   spoliation of evidence is not a bar to an award of summary judgment in Defendants’ favor.

              I. Plaintiff cannot withstand summary judgment without its experts.
          As demonstrated above, even with its three experts, Plaintiff cannot resist summary

   judgment. See, e.g., Weiss v. Standard Ins. Co., 672 F. Supp. 2d 1313, 1320 (S.D. Fla. 2009)

   (“The rules governing admissibility of expert testimony were not intended . . . to make summary

   judgment impossible whenever a party has produced an expert to support its position.”) (citation

   omitted). If this Court grants one or more of Defendants’ pending motions to exclude Plaintiff’s

   experts (Dkt. 241, 244–45), it becomes even clearer that Plaintiff cannot create any genuine issue

   of material fact for trial. See, e.g., Allison v. McGhan Med. Corp., 184 F.3d 1300, 1322 (11th

   Cir. 1999) (affirming grant of summary judgment because district court had properly excluded

   expert testimony that was essential to establish an element of plaintiff’s case).

          Plaintiff’s case has very few fact witnesses; Plaintiff itself is a liquidating trustee without

   any personal knowledge of the facts in this case. (Dkt. 247 ¶67). Plaintiff depends inordinately

   upon experts James Murphy and Aaron Lacey, as is apparent from the many citations to their

   reports and/or transcripts in the Opposition. (Dkt. 263–64.)8 But as discussed in Defendants’

   Daubert memoranda, one of the several grounds for their exclusion is that they each function as

   mouthpieces for improper, closing argument opinions that merely summarize deposition exhibits,

   testimony, and other hearsay in a plaintiff-friendly manner. See Lacey Reply, at 13–15, Dkt. 241;

   Murphy Reply, at 15–16, Dkt. 244. Without them, Plaintiff has no one to tell its story at trial.


   8
     Plaintiff cites to the experts scores of times throughout the Opposition, and often relies
   exclusively upon them in attempting to manufacture genuine disputes on material issues. See,
   e.g., Opp’n at 22, 23 (relying solely on Murphy to create phantom issue about general industry
   practice); Statement of Material Facts ¶15 (same).


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             Another ground for exclusion raised against Murphy is that his testimony—as

      characterized by Plaintiff itself in its brief—is immaterial to the issues in this case. “An issue of

      fact is ‘material’ if it is a legal element of the claim under applicable substantive law which

      might affect the outcome of the case.” Espinoza v. Galardi South Enters., Inc., 2018 WL

      1729757, at *2 (S.D. Fla. Apr. 10, 2018) (citations omitted). Plaintiff asserts that Murphy opines

      on industry custom and practice, which is not material in this case. (Dkt. 277 at 1–4).

             Likewise, Lacey’s opinions should be excluded, inter alia, because he does not opine as

      to any facts in this case. (Dkt. 241 at 14–15.) “To usefully support a motion for summary

      judgment, an affidavit must set forth facts' and by implication in the case of experts (who are not

      ‘fact witnesses’) a process of reasoning beginning from a firm foundation.” Martinez v.

      Weyerhaeuser Mortg. Co., 959 F. Supp. 1511, 1515 (S.D. Fla. 1996). “An expert who supplies

      nothing but a bottom line supplies nothing of value to the judicial process.” Id.

             Finally, Plaintiff’s damages are exclusively dependent upon the unreliable opinion of

      James Donohue. (Dkt. 218-1 at 3) (referring Defendants exclusively to Donohue’s report for its

      damages calculations). But Donohue failed to reconcile his valuation methods or account for

      other likely contributing factors, among other methodological flaws. (Dkt. 245, 278.) “An

      expert’s opinion that lacks any credible support does not create an issue of fact.” Am. Key Corp.

      v. Cole Nat. Corp., 762 F.2d 1569, 1580 (11th Cir. 1985).

IV.      Conclusion
             For the foregoing reasons, the Court should grant Defendants’ Motion for Summary

      Judgment and dismiss Plaintiff’s Amended Complaint in its entirety with prejudice.




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                                                                        Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on April 13, 2018, I electronically filed the foregoing with the Clerk

   of Court, using CM/ECF. I also certify that the foregoing document was served on all counsel of

   record via transmission of Notice of Electronic filing generated by CM/ECF.

                                                                                       /s/ Kenneth J. Duvall
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